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                       EXHIBIT A
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From:             Larry Klayman
To:               Lipton, Joshua
Cc:               Larry Klayman; Walters, Robert C.; kevinteruya@quinnemanuel.com; Kopp, Christopher F.; Oliver Peer; Asher
                  Anderson
Subject:          Re: Notices of Intent
Date:             Monday, August 14, 2023 10:41:00 AM


[WARNING: External Email]
Josh:

We do want you to retain documents produced to your clients by the PGA Tour, as our notice
specifies. With regard to the third party retention, you are correct that we ask that you retain
the documents for USGA, PGA of America, Augusta National and Clout.

Please represent this to Judge Freeman and her magistrate judge in Gibson Dunn's motion to
be filed today.


Thank you again for your professional courtesy and cooperation.

Larry Klayman, Esq.

On Mon, Aug 14, 2023 at 6:32 AM Lipton, Joshua <JLipton@gibsondunn.com> wrote:

  Hi Larry. Please send an email confirming what I describe in the email below. Or, if there
  is anything that I didn’t get correct in my summary, please let us know.



  Thanks very much.

  --Josh



  Joshua Lipton
  Partner

  T: +1 202.955.8226 | M: +1 202.812.2165
  JLipton@gibsondunn.com

  GIBSON DUNN
  Gibson, Dunn & Crutcher LLP
  1050 Connecticut Avenue, N.W., Washington, D.C. 20036-5306




  From: Lipton, Joshua
  Sent: Friday, August 11, 2023 9:39 AM
  To: 'Larry Klayman' <klaymanlaw@gmail.com>; Walters, Robert C.
  <RWalters@gibsondunn.com>; kevinteruya@quinnemanuel.com; Kopp, Christopher F.
  <CKopp@gibsondunn.com>
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Cc: Oliver Peer <oliver.peerfw@gmail.com>; Asher Anderson
<asher.andersonfw@gmail.com>
Subject: RE: Notices of Intent



Larry – Following up on our meet and confer earlier this week regarding the notices of
subpoena that you sent to Gibson Dunn and Quinn Emanuel, it is our understanding that (1)
you are narrowing the scope of the subpoenas to the following third parties: PGA of
America, USGA, Augusta National, and Clout (noting that we have represented to you that
we do not have any documents produced by the R&A); (2) based on the representation from
the PGA Tour’s counsel that they are retaining their documents produced to us and will
respond directly to discovery in your case if required to do so, there is no need for us to
retain the documents produced to us by the PGA Tour; and (3) you have no objection to us
proceeding with deleting documents produced by the PGA Tour and third parties other than
those listed above, pursuant to the terms of Judge Freeman’s protective order.



Please confirm your agreement to the foregoing. We plan to file a motion on Monday in the
N.D. Cal. case seeking relief from the destruction requirement in the Protective Order with
respect to the documents produced by the four third-parties listed above. We will send a
copy of that motion to you when it is filed.



Please let us know if you have any questions, or if a call would be helpful.



Thanks.

--Josh



Joshua Lipton
Partner

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